                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                         ) Case No. 1:17-cr-23-7
                                                  )
 v.                                               ) District Judge Curtis L. Collier
                                                  )
 PHILLIP HOOTON                                   ) Magistrate Judge Christopher H. Steger

                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge conducted

 a plea hearing in this case on November 15, 2017. At the hearing, Defendant entered a plea of

 guilty to a lesser included offense of Count One of the thirteen count Superseding Indictment. On

 the basis of the record made at the hearing, the Court finds that Defendant is fully competent and

 capable of entering an informed plea; the plea is made knowingly and with full understanding of

 each of the rights waived by Defendant; it is made voluntarily and free from any force, threats, or

 promises; Defendant understands the nature of the charges and penalties provided by law; and the

 plea has a sufficient basis in fact. Acceptance of the plea, adjudication of guilt, acceptance of the

 Revised Plea Agreement, and imposition of sentence are specifically reserved for the District

 Court Judge.

        I therefore recommend that the Court: (1) grant Defendant’s motion to withdraw his not

 guilty plea to a lesser included offense of Count One of the thirteen count Superseding Indictment;

 (2) accept Defendant’s guilty plea to a lesser included offense of Count One of the thirteen count

 Superseding Indictment; (3) adjudicate Defendant guilty of conspiracy to distribute and possess

 with intent to distribute more than 50 grams of a mixture and substance containing a detectable

 amount of methamphetamine in violation of Title 21, United States Code §§ 841(a)(1),

 841(b)(1)(B) and 846; and (4) order that Defendant remain in custody until further Order of this

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 Court or sentencing in this matter.

        The Defendant’s sentencing hearing is scheduled on March 21, 2018, at 2:00 p.m.

 ENTER.


                                                /s/Christopher H. Steger
                                                United States Magistrate Judge




                                       NOTICE TO PARTIES

         You have the right to de novo review by the district judge of the foregoing findings. Any
 application for review must be in writing; must specify the portions of the findings or proceedings
 objected to; and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. § 636(b).




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